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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION




 CARLOS ABELLA,

         Petitioner

 v.                                                                   CASE NO. 8:05-CV-917-T-30TBM
                                                                               8:01-CR-228-T-30TBM
 UNITED STATES OF AMERICA,

      Respondent.
 ______________________________/

                                                   ORDER

         This matter comes before the Court upon Petitioner’s Notice of Appeal (Dkt. 5) of

 the July 11, 2005 decision denying his motion to vacate, set aside or correct sentence filed

 pursuant to 28 U.S.C. § 2255, see Dkt. 3, and request to proceed on appeal in forma

 pauperis (Dkt. 7). The Court construes the Notice of Appeal as a motion for issuance of

 a certificate of appealability (“COA”) pursuant to Rule 22, Fed. R. App. P.,1 and 28 U.S.C.

 §2253.2




         1
           "Certificate of Appealability. (1) In a habeas corpus proceeding in which the detention complained
 of arises from process issued by a state court, or in a 28 U.S.C. §§ 2255 proceeding, the applicant cannot take
 an appeal unless a circuit justice or a circuit or district judge issues a certificate of appealability under 28
 U.S.C. §§ 2253(c). If an applicant files a notice of appeal, the district judge who rendered the judgment must
 either issue a certificate of appealability or state why a certificate should not issue. . . . If no express request
 for a certificate is filed, the notice of appeal constitutes a request addressed to the judges of the court of
 appeals." Rule 22, Fed. R. App. P.
         2
           “Unless a circuit justice or judge issues a certificate of appealability, an appeal may not be taken to
 the court of appeals from -- (B) the final order in a proceeding under section 2255. . . . A certificate of
 appealability may issue . . . only if the applicant has made a substantial showing of the denial of a
 constitutional right." 28 U.S.C. § 2253(c).
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        Issuance of a COA does not require a showing that the appeal will succeed. See

 Miller-El v. Cockrell, 537 U.S. 322, 336-37 (2003). To obtain a certificate of appealability

 where a district court has rejected a prisoner's constitutional claims on the merits, the

 petitioner must demonstrate that reasonable jurists would find the district court's

 assessment of the constitutional claims debatable or wrong. See Slack v. McDaniel, 529

 U.S. 473, 484 (2000); Eagle v. Linahan, 279 F.3d 926, 935 (11th Cir 2001). When the

 district court has rejected a claim on procedural grounds, the petitioner must show that

 jurists of reason would find it debatable whether the petition states a valid claim of the

 denial of a constitutional right and that jurists of reason would find it debatable whether the

 district court was correct in its procedural ruling to obtain a certificate of appealability.

 Slack, 529 U.S. at 484; Franklin v. Hightower, 215 F.3d 1196, 1199 (11th Cir. 2000) (per

 curiam).

        In his petition, Petitioner challenged a 2001 conviction for drug-related charges.

 Guided by the Eleventh Circuit’s holding in Varela v. United States, 400 F.3d 864, 867-68

 (11th Cir. 2005) (holding that the Supreme Court’s decisions in Blakely v. Washington, 542

 U.S. 296 (2004), and United States v. Booker, 543 U.S. __, 125 S.Ct. 738, 756 (Jan. 12,

 2005), are not applicable to cases on collateral review), the Court dismissed the § 2255

 motion. Because Petitioner has failed to demonstrate that reasonable jurists would find the

 Court's assessment of the Petition debatable or wrong, he has failed to satisfy the two-

 prong Slack test. 529 U.S. at 484.

        ACCORDINGLY, the Court ORDERS that:

        1.     Petitioner’s Notice of Appeal (Dkt. 5), which the Court has construed as a

 motion for issuance of a certificate of appealability (Dkt. 6), is DENIED.


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          2.   Petitioner’s Motion for Permission to Appeal In Forma Pauperis (Dkt. 7) is

 DENIED.

          DONE and ORDERED in Tampa, Florida on August 30, 2005.




 Copies furnished to:
 Counsel/Parties of Record

 SA:jsh




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